Case 1:18-cv-01413-JTN-SJB ECF No. 115, PageID.1064 Filed 04/25/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                     :
JOHN DOE,                                            :
                                                     :
                                  Plaintiff,         :    Civil Action No. 1:18-cv-1413
                                                     :
           v.                                        :
                                                     :    Hon. Janet T. Neff
MICHIGAN STATE UNIVERSITY,                           :
MICHIGAN STATE UNIVERSITY                            :
BOARD OF TRUSTEES; JOHN                              :
ENGLER, individually and as agent for                :
Michigan State University, KROLL                     :
ASSOCIATES, INC., as agent for                       :
Michigan State University, MARK                      :
EHLERS, individually and as agent for                :
Michigan State University, KENDRA                    :
WALDSMITH, individually and as agent                 :
for Michigan State University, ANDE                  :
DUROJAIYE, individually and as agent                 :
for Michigan State University, RICK                  :
SHAFER, individually and as agent for                :
Michigan State University, and DENISE                :
MAYBANK, individually and as agent                   :
for Michigan State University,                       :
                                                     :
                              Defendants.            :


                         STIPULATION AND ORDER TO DISMISS

       NOW COME the above-named parties 1, by and through their respective attorneys and do

hereby stipulate and agree that this matter be dismissed with prejudice as to all parties and without

costs or attorney fees to any party.




       1
         Kroll Associates, Inc., Mark Ehlers, and Kendra Waldsmith were previously dismissed
as defendants by this Honorable Court.



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By: _/s/ Stuart Bernstein__________       By: __/s/_Michael Baughman __

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                                          Trustees, John Engler, Ande Durojaiye, Rick
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                      :
JOHN DOE,                                             :
                                                      :
                                  Plaintiff,          :     Civil Action No. 1:18-cv-1413
                                                      :
         v.                                           :
                                                      :      Hon. Janet T. Neff
MICHIGAN STATE UNIVERSITY,                            :
MICHIGAN STATE UNIVERSITY                             :
BOARD OF TRUSTEES; JOHN                               :
ENGLER, individually and as agent for                 :
Michigan State University, KROLL                      :
ASSOCIATES, INC., as agent for                        :
Michigan State University, MARK                       :
EHLERS, individually and as agent for                 :
Michigan State University, KENDRA                     :
WALDSMITH, individually and as agent                  :
for Michigan State University, ANDE                   :
DUROJAIYE, individually and as agent                  :
for Michigan State University, RICK                   :
SHAFER, individually and as agent for                 :
Michigan State University, and DENISE                 :
MAYBANK, individually and as agent                    :
for Michigan State University,                        :
                                                      :
                              Defendants.             :

                                       ORDER TO DISMISS

                                PRESENT: HON. JANET T. NEFF
                                 United States District Court Judge

       The parties, having stipulated to the above dismissal of claims and the Court otherwise

being fully advised in the premises;

       IT IS HEREBY ORDERED that the foregoing matter is dismissed with prejudice and

without costs or attorney fees to either party.

Date: __________________
                                                          _____________________________
                                                          HON. JANET T. NEFF


                                                  3
